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The July 17, 2024, pre-motion conference is adjourned to August 7, 2024, at 4:00 P.M. At that time,
the parties shall call 888-363-4749 and enter the access code 558-3333. The parties shall file any
pre-motion letters by July 24, 2024. So Ordered.

Dated: July 2, 2024
       New York, New York

                                            July 1, 2024

VIA CM/ECF
Honorable Lorna G. Schofield, U.S.D.J.
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:     Dewi Riana, et al. v. Torishiki USA Corp., et al.
               Civil Action No.: 1:23-cv-05248
               Joint Request to Adjourn Pre-Motion Conference Scheduled for July 17, 2024

Dear Judge Schofield:

       This firm is counsel to Defendants, Torishiki USA Corp. (d/b/a Torien Restaurant), Showa
Hospitality, LLC, Julian Hakim (improperly pled as “Julien Hakim”), Hideo Yasuda, and Rodrigo
Acosta (collectively referred to as “Defendants”), with respect to the above-captioned matter. We
write with respect to the pre-motion conference currently scheduled before Your Honor on July
17, 2024.

       In accordance with Your Honor’s Individual Rules and Procedures, the parties jointly
request an adjournment of the July 17, 2024 pre-motion conference. The parties attended a
settlement conference before the Honorable Katharine H. Parker, U.S.M.J. on June 26, 2024.
While the conference did not result in a resolution, the parties made substantial progress and have
continued their discussions into this week with the goal of fully resolving all claims.

       To that end, the parties request that the pre-motion conference currently scheduled for July
17, 2024 be adjourned two weeks to permit the parties to engage in continued settlement
discussions with the hope of fully resolving the dispute prior to incurring the fees of preparing pre-
motion letters and the like.

       Please note that this is the parties’ second request for an adjournment of the pre-motion
conference.




 New Jersey                     New York
 422 Morris Avenue              641 Lexington Avenue, 13th Floor              olenderfeldman.com
 Summit, New Jersey 07901       New York, New York 10022                         fax: 908-810-6631
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        Should Your Honor have any questions or wish to discuss this matter further, please do not
hesitate to have a member of Your staff contact me. We thank you for your continued attention to
this matter.
                                             Respectfully submitted,

                                             /s/ Sean Rose
                                             SEAN ROSE

cc:    Mike DiGiulio, Esq. (via ECF)
